Case 1:21-cv-03273 DOS EMER Fr F Hed 12/17/21 Page loft oq 939

UNITED STATES DISTRICT COURT Rev. 4/96
FOR THE DISTRICT OF COLUMBIA

NOTICE OF DESIGNATION OF RELATED CIVIL CASES PENDING
IN THIS OR ANY OTHER UNITED STATES COURT

Civil Action No.
(To be supplied by the Clerk)

NOTICE TO PARTIES:

Pursuant to Rule 40.5(b\(2), you are required to prepare and submit this form at the time of filing any civil action which is
related to any pending cases or which involves the same parties and relates to the same subject matter of any dismissed related cases.
This form must be prepared in sufficient quantity to provide one copy for the Clerkss records, one copy for the Judge to whom the

cases is assigned and one copy for each defendant, so that you must prepare 3 copies for a one defendant case, 4 copies for a two
defendant case, etc.

NOTICE TO DEFENDANT:

Rule 40.5(b)(2) of this Court requires that you serve upon the plaintiff and file with your first responsive pleading or motion
any objection you have to the related case designation.

NOTICE TO ALL COUNSEL

Rule 40.5(b)(3) of this Court requires that as soon as an attorney for a party becomes aware of the existence of a related case
or cases, such attorney shall immediately notify, in writing, the Judges on whose calendars the cases appear and shall serve such notice
on counsel for all other parties.
The plaintiff , defendant or counsel must complete the following:

I. RELATIONSHIP OF NEW CASE TO PENDING RELATED CASE(S).

A new case is deemed related to a case pending in this or another U.S. Court if the new case: [Check appropriate box(e=s)
below. ]

[] (a) relates to common property
[x | (b) involves common issues of fact
alae (c) grows out of the same event or transaction
[ (d) involves the validity or infringement of the same patent
pe (ec) is filed by the same pro se litigant
2: RELATIONSHIP OF NEW CASE TO DISMISSED RELATED CASE(ES)

A new case is deemed related to a case dismissed, with or without prejudice, in this or any other U.S. Court, if the new case
involves the same parties and same subject matter.

Check box if new case is related to a dismissed case: a

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3. NAME THE UNITED STATES COURT IN WHICH THE RELATED CASE IS FILED (IF OTHER THAN THIS
“OURT:
4. CAPTION AND CASE NUMBER OF RELATED CASE(EsS). IF MORE ROOM IS NEED PLEASE USE OTHER SIDE.
Mark Meadows Pelosi et al. 21¢cv3217
Vv. C.A. No.
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DATE ” Signature of Plaintiff /Defendant (or counsel)
